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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                      September 16, 2021
                           UNITED STATES DISTRICT COURT
                                                                                       Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
VS.                                              § CIVIL ACTION NO. 7:20-CV-265
                                                 §
6.298 ACRES OF LAND, MORE OR                     §
LESS, et al,                                     §
                                                 §
         Defendants.                             §

                                     FINAL JUDGMENT

       Before the Court is the Joint Stipulation of Revestment (Dkt. No. 36) entered by Plaintiff,

the United States of America, and Defendants Ociel Mendoza and the Department of Treasury-

Internal Revenue Service, in the above-styled condemnation action.

       The unresolved tract in this case is a 6.298 acre tract of land identified as Tract RGV-

RGC-9000-1 (hereinafter “Subject Property”), more or less, being out of a calculated 27.640

acres of land located in Starr County, Texas, all as more particularly described in the Complaint

and Declaration of Taking filed in this matter. (Dkt. Nos. 1-2).

       Pursuant to 40 U.S.C. § 3117, the United States may agree or stipulate to the revestment

of condemned property to resolve condemnation cases.

       On September 15, 2021, the parties filed their Joint Stipulation of Revestment (Dkt.

No. 36), whereby the United States and Defendants Ociel Mendoza and the Department of

Treasury-Internal Revenue Service jointly stipulated and agreed that all right, title, and interest

acquired by the United States associated with or appurtenant to the Subject Property has been

REVESTED in Defendant Ociel Mendoza as they existed immediately before the time of the

filing of the Declaration of Taking, and title vesting in the United States. Defendant Ociel


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Mendoza further accepted such REVESTMENT of the Subject Property.

       Accordingly, pursuant to the Stipulation entered by the United States and Defendants

Ociel Mendoza and the Department of Treasury-Internal Revenue Service, it is hereby

ORDERED AND ADJUDGED, that all rights condemned or conveyed to the United States in

the Subject Property, as described in the Declaration of Taking, have been REVESTED back to

Defendant Ociel Mendoza.

       It is further ORDERED and ADJUDGED that:

       A. Pursuant to parties’ agreement to disburse funds, the Court now ORDERS the Clerk

           of Court to DISBURSE the sum remaining in the Registry of the Court, i.e., forty-

           two thousand nine-hundred-thirty-eight dollars and 00/100 ($42,938.00), plus any

           accrued interest on this sum payable to the order of “F&A Officer, USAED, Fort

           Worth.” The check shall reference Tract RGV-RGC-9000-1.

       B. The parties shall be responsible for their own legal fees, costs, and expenses,

           including attorneys’ fees, consultants’ fees, and any other expenses or costs.

       C. The parties shall take no appeal from any rulings or judgments made by the Court in

           this action, and the parties consent to the entry of all motions, orders, and judgments

           necessary to make this stipulated judgment.

       D. This final judgment is binding on the heirs, trustees, executors, administrators,

           devisees, successors, assigns, agents, and representatives of the parties.

The United States is further ORDERED to record this Final Judgment and the Joint Stipulation

of Revestment with the Official Records of Hidalgo County, Texas, so as to provide notice in the

county deed records.

       This case is terminated, and the Clerk of Court is instructed to close the case.


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                      SO ORDERED this 16th day of September, 2021, at McAllen, Texas.


                                                           ___________________________________
                                                           Randy Crane
                                                           United States District Judge




               3/3
Kathy Nguyen
 9/16/2021
